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Via Email
November 28, 2023

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RE: Hunt v. SBC, et al. (M.D. Tenn.) (No. 3:23-cv-00243)

Dear Counsel:

We write on behalf of Plaintiff Johnny Hunt and in follow-up to my phone calls and
voicemail regarding the scheduling of depositions.

Now that the Court has ruled on the pending motions and ordered that the documents at
issue be produced, we are able to set a deposition schedule for testimony we are seeking in the
case. Please see the schedule below with proposed dates for depositions. The corresponding
notices are enclosed, and the 30(b)(6) notices will be provided soon.

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Filed 01/09/24

January 16, 2024: Samantha Kilpatrick and Russell Holske Jr. (Riley & Jacobson, PLC)
January 17, 2024: Krista Tongring and Anthony Collura (Riley & Jacobson, PLC)
January 18, 2024: Julie Myers Wood (Riley & Jacobson, PLC)

January 19, 2024: Complainant and her husband (Florida)

January 24, 2024: Ed Litton and John Batts (Riley & Jacobson, PLC)

January 25, 2024: Chris Dupree and Nancy Spalding (Riley & Jacobson, PLC)

January 26, 2024: Mike Keahbone (Riley & Jacobson, PLC)

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e January 29-30, 2024: 30(b)(6) Depositions of the Southern Baptist Convention and the
Executive Committee (Riley & Jacobson, PLC)
e TBD: Bart Barber (Riley & Jacobson, PLC)

Please confirm each witness’s availability on the dates listed above. We would like to
confirm each of these depositions by December 8 to ensure we comply with the controlling case
milestones.

As we discussed, we are working to provide dates for the depositions of Johnny Hunt and
Janet Hunt. We will provide an update on available dates and locations for these depositions
shortly. We appreciate your efforts and attention to these important scheduling issues.
Please let us know if you have any questions or concerns.
Best regards.
Very truly yours,
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Robert D. MacGill

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